 

UNITED STATES OF AMERICA

V.

HUGO FRANCISCO MIRAMONTES (4)

 

 

United States District Court | “FILED

FOR THE NORTHERN DISTRICT OF TEXAS [ SEP 28 2021 |
DALLAS DIVISION [ad

By

CRIMINAL ACTION NO. 3:20-CR-00496-S

Qn Lr Ln Lr «ar

REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

HUGO FRANCISCO MIRAMONTES (4), by consent, under authority of United States v. Dees, 125 F.3d 261
(Sth Cir. 1997), has appeared before me pursuant to FED. R. CRIM. P. 11, and has entered a plea of guilty to Count 2 of the
Indictment. After cautioning and examining HUGO FRANCISCO MIRAMONTES (4) under oath concerning each of
the subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense
charged is supported by an independent basis in fact containing each of the essential elements of such offense. | therefore
recommend that the plea of guilty be accepted, and that HUGO FRANCISCO MIRAMONTES (4) be adjudged guilty of
21 U.S.C. § 841(a)(1) and (b)(1)(C), Possession with Intent to Distribute a Controlled Substance, and have sentence
imposed accordingly. After being found guilty of the offense by the District Judge:

A The Defendant is currently in custody and should be ordered to remain in custody.

LC The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(1) unless the Court finds by clear and
convincing evidence that the Defendant is not likely to flee or pose a danger to any other person or the community

if released.

O The Government does not oppose release.

O The Defendant has been compliant with the current conditions of release.

O I find by clear and convincing evidence that the Defendant is not likely to flee or pose a danger to any other
person or the community if released and should therefore be released under 18 U.S.C. § 3142(b) or (c).

CO The Government opposes release.

O The Defendant has not been compliant with the conditions of release.

O If the Court accepts this recommendation, this matter should be set for hearing upon motion of the

Government.

C The Defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless: (1)(a) the Court finds there is
a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown
under § 3145(c) why the Defendant should not be detained; and (2) the Court finds by clear and convincing evidence
that the Defendant is not likely to flee or pose a danger to any other person or the community if released.

SIGNED September 28, 2021. 6

 

-ED SFATES’MAGISTRATE JUD

NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date of its
service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United States
District Judge. 28 U.S.C. §636(b)(1)(B).

U.S. DISTRICT COURT sd

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